          Case 1:25-cv-03077-PK                    Document 18          Filed 06/05/25     Page 1 of 3 PageID #: 58

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New  York
                                                                            __________

  MARTHA FIGUEROA, on behalf of herselves and                       )
           others simlarly situated,                                )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )                          1:25-CV-3077 PK
                                v.                                          Civil Action No.
                                                                    )
           FABCO ENTERPRISES, INC.,                                 )
     FABCO SHOES LLC, 45 GRAHAM AVE LLC,                            )
      DAVID WEINMAN, CLAIRE WEINMAN, and                            )
                MAX WEINMAN                                         )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) FABCO ENTERPRISES, INC.
                                           52-55 74th Street
                                           Elmhurst, NY 11373




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Law Office of Brian L. Greben
                                           316 Great Neck Road
                                           Great Neck, NY 11021




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               #3&//"#.")0/&:
                                                                               CLERK OF COURT

              6/5/2025                                                                SONIA GALEANO
Date:
                                                                                         Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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                                RIDER TO SUMMONS

Defendants: FABCO ENTERPRISES, INC.
            52-55 74th Street
            Elmhurst, NY 11373

           FABCO SHOES LLC
           52-55 74th Street
           Elmhurst, NY 11373

           45 GRAHAM AVE LLC
           52-55 74th Street
           Elmhurst, NY 11373

           DAVID WEINMAN
           c/o Fabco Enterprises, Inc.
           52-55 74th Street
           Elmhurst, NY 11373

           CLAIRE WEINMAN
           c/o Fabco Enterprises, Inc.
           52-55 74th Street
           Elmhurst, NY 11373

           MAX WEINMAN
           c/o Fabco Enterprises, Inc.
           52-55 74th Street
           Elmhurst, NY 11373
